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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA


ERICA RAMIREZ, on behalf of herself and all            Civil Action No.:
other persons similarly situated,

               Plaintiff,

       v.

SNAP NURSE, INC.,
675 Ponce De Leon Avenue, N.E.
Suite 8500
Atlanta, GA 30308,

               Defendant.

                                 CLASS ACTION COMPLAINT

       Plaintiff Erica Ramirez, (“Plaintiff”), on behalf of herself and all other persons similarly

situated, by and through her counsel, brings this wage and hour and breach of contract action

against her former employer, Defendant Snap Nurse, Inc. (“Snap”), and alleges as follows:

                                  NATURE OF THE ACTION

       1.      This case arises out of Snap’s failure to properly pay wages for all hours worked in

violation of the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201 et seq., and in breach of its

contract with Plaintiff and members of the class.

       2.       It is upon information and belief that Snap enters into contracts with healthcare

providers to offer their services to entities in need of healthcare providers.

       3.      Snap serves as an intermediary for healthcare providers to find temporary work

across the United States.

       4.      Snap’s contracts uniformly provide healthcare providers a guaranteed amount of

hours and pay regardless of whether their services are needed for each contract.



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        5.       If you are a healthcare provider, Snap will contract with hospitals and entities across

the country who are in need of healthcare providers. Once the healthcare provider contracts with

Snap, Snap will then provide them a provider in another area that is in need of their services. As

part of the inducement to the provider to travel to another area to provide their services, Snap

guarantees the provider will be paid at least a certain amount of time regardless of whether the

entity ends up using the provider’s services.

        6.       Snap would not be able to provide healthcare providers unless it provided this

guarantee because it would not be financially beneficial for a healthcare provider to travel to

another state without a guarantee that it would be provided pay for their services.

        7.       In spite of these contracts with healthcare providers, it is upon information and

belief that Snap does not provide pay for the guarantee it contracted with each healthcare provider

in violation of its contract.

        8.       It is upon information and belief that Snap does not provide compensation for travel

time to and from each site in violation of the FLSA.

        9.       It is upon information and belief that Snap does not provide compensation for all

overtime wages.

        10.      Accordingly, Snap is liable for its failure to pay Plaintiff and members of the

putative class for all hours worked and time and a half for hours worked in excess of 40.

        11.      It is also upon information and belief that Snap does not pay its employees in breach

of its contract with Plaintiff and members of the putative class which guaranteed pay for at least

two weeks of work time, as well as reimbursement of expenses.




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                                 JURISDICTION AND VENUE

       12.      Plaintiff brings this action under Georgia law and the FLSA for hours worked and

uncompensated hours that are promised under its contract with Defendant.

       13.      This Court has subject-matter jurisdiction over all Plaintiff’s claims pursuant to the

Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1332(d)(2), because there exists diversity of

citizenship for purposes of CAFA and because the total amount in controversy exceeds $5 million.

       14.      Additionally, this Court has jurisdiction over Plaintiff’s state law claims pursuant

to 28 U.S.C. § 1367.

       15.      Finally, this Court has Federal Question Jurisdiction since Plaintiff is bringing a

claim under the FLSA pursuant to 28 U.S.C. 201 et seq.

       16.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(1). Defendant is incorporated,

headquartered, and a citizen of the State of Georgia.

                                             PARTIES

       17.      Plaintiff Erica Ramirez is a healthcare provider who is a citizen of Pennsylvania,

residing in Beaver County, Pennsylvania.

       18.      Plaintiff brings this action on behalf of herself and all other similarly situated

employees pursuant to Rule 23(b)(3) of the Federal Rules of Civil Procedure as a representative

of the proposed class action of similarly situated employees.

       19.      Plaintiff also brings this action pursuant to the FLSA as a collective action on behalf

of all similarly situated employees.

       20.      At all relevant times, Plaintiff was a citizen and resident of Pennsylvania.

       21.      At all relevant times, Defendant Snap is a citizen of Georgia where it is incorporated

and headquartered at 675 Ponce De Leon Avenue, N.E., Suite 8500, Atlanta, Georgia 30308.



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        22.      At all times, Defendant contracted with healthcare providers across the country to

provide their services to hospitals and entities in need of healthcare providers throughout the

country.

                                               FACTS

        23.      Snap contracts with hundreds of facilities across the country to provide healthcare

providers to those facilities.

        24.      To gain employment with Defendant, a healthcare provider would provide its

credentials to Snap.

        25.      If a healthcare advisor meets Snap’s credentials and requirements, Snap contracts

with healthcare provider to provide their services to facilities throughout the country who are in

need of temporary healthcare providers.

        26.      During the COVID-19 pandemic, healthcare providers became more in demand.

Snap became a useful resource for entities throughout the country who needed healthcare

providers.

        27.      Plaintiff contracted with Snap in August 2020 to offer her services as a provider.

        28.      Plaintiff was contracted to depart from her home in Beaver, Pennsylvania to Ft.

Lauderdale, Florida.

        29.      Plaintiff was told by her employer that she had to drive; she could not fly to Ft.

Lauderdale, Florida. Plaintiff needed her vehicle for the healthcare job she was providing.

        30.      On August 21, 2020, Plaintiff left Beaver, Pennsylvania and arrived in Ft.

Lauderdale, Florida on August 22, 2020.

        31.      Defendant agreed to pay Plaintiff $77.00 an hour for the first 40 hours and $115.50

an hour for hours worked in excess of 40 hours.



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       32.      Pursuant to her contract with Defendant, Plaintiff was guaranteed to be paid for 48

hours of work. Plaintiff’s guarantee was conditioned on Plaintiff being available to work. The

guaranteed hours are paid at the regular rate of pay with overtime rates if needed. Guaranteed hours

were for the start of the assignment on August 23, 2020, not upon the arrival at the hotel. The

orientation for her contract was to begin on August 19, 2020 through August 23, 2020 between

7:00 a.m. and 7:00 p.m.

       33.      Pursuant to the above contract, Plaintiff arrived at her worksite on August 21, 2020

for orientation; however, was not provided work as guaranteed by her contract.

       34.      Further, Plaintiff was not provided reimbursement for her travel and lodging to and

from Ft. Lauderdale, Florida or pay for travel to and from Ft. Lauderdale, Florida.

                                 RULE 23(b)(3) CLASS ACTION

       35.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, named Plaintiff Erica

Ramirez brings her claim for relief to redress and remedy Defendant’s violations of the FLSA and

breach of contract on behalf of the following Class:

                All employees of the Defendant who were contracted to provide
                temporary services for Defendant but were not reimbursed for travel
                time and expenses.

       36.      The proposed class is easily ascertainable. The number and identity of the class

members are determinable from Defendant’s records.

       37.      Numerosity: The proposed class is so numerous that the joinder of all such persons

is impracticable, and the disposition of their claims as a class will benefit the parties and the Court.

While the exact number of class members is unknown to Plaintiff at this time, upon information

and belief, the class comprises of at least several hundred persons.

       38.      Commonality: There is a well-defined commonality of interest in the questions of

law and fact involving and affecting the class in that Plaintiff and all members of the proposed
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class have been harmed by Defendant’s failure to compensate current and/or former healthcare

providers for all hours worked and time and a half for hours promised in its contract. The common

questions of law and fact include, but are not limited to, the following:

                a.     whether Defendant refused to pay Plaintiff and members of
                       the proposed class guaranteed wages in violation of its
                       contract.

       39.      Typicality: The claims of Plaintiff herein are typical of those claims which could

be alleged by any member of the class, and the relief sought is typical of the relief which would

be sought by each member of the class in separate actions. All class members were subject to the

same compensation practices of Defendant, as alleged herein, of not paying guaranteed hours in

its contract. Defendant’s compensation policies and practices affected all class members similarly,

and Defendant benefited from the same type of unfair and/or wrongful acts as to each class

member. Plaintiff and members of the proposed class sustained similar losses, injuries and

damages arising from the same unlawful policies, practices and procedures.

       40.      Adequacy of Representation: Plaintiff is able to fairly and adequately protect the

interests of all members of the class, and there are no known conflicts of interest between Plaintiff

and members of the proposed class. Plaintiff has retained counsel who are experienced and

competent in both wage and hour law and complex class action litigation.

       41.      Predominance and Superiority: The common questions identified above

predominate over any individual issues, which will relate solely to the quantum of relief due to

individual class members. A class action is superior to other available means for the fair and

efficient adjudication of this controversy. Individual joinder of all class members is impracticable.

Class action treatment will permit a large number of similarly situated persons to prosecute their

common claims in a single forum simultaneously, efficiently, and without the unnecessary



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duplication of effort and expense that numerous individual actions engender. Because the losses,

injuries and damages suffered by each of the individual class members are small in the sense

pertinent to class action analysis, the expense and burden of individual litigation would make it

extremely difficult or impossible for the individual class members to redress the wrongs done to

them.

        42.      On the other hand, important public interests will be served by addressing the

matter as a class action. The cost to the court system and the public for the adjudication of

individual litigation and claims would be substantial and substantially more than if the claims are

treated as a class action. Prosecution of separate actions by individual members of the proposed

class would create a risk of inconsistent and/or varying adjudications with respect to the individual

members of the class, establishing incompatible standards of conduct for Defendant and resulting

in the impairment of class members’ rights and the disposition of their interests through actions to

which they were not parties. The issues in this action can be decided by means of common, class-

wide proof. In addition, if appropriate, the Court can, and is empowered to, fashion methods to

efficiently manage this action as a class action.

        43.      Pursuit of this action a class action will provide the most efficient mechanism for

adjudicating the claims of Plaintiff and members of the proposed class.

                        FLSA COLLECTIVE ACTION ALLEGATIONS

        44.      Plaintiff brings the First Cause of Action, 29 U.S.C. § 216(b), on behalf of herself

and the following collective:

                 All employees of the Defendant who were contracted to provide
                 temporary services for Defendant but were not paid for the
                 guaranteed hours promised by the Defendant in breach of its
                 contract.




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        45.      At all relevant times, Plaintiff and the members of the putative Collective were

engaged in commerce and/or the production of goods for commerce within the meaning of 29

U.S.C. §§ 203(e) and 207(a).

        46.      Defendant is an employer of Plaintiff and the members of the putative Collective

and is engaged in commerce and/or the production of goods for commerce within the meaning of

29 U.S.C. §§ 203(e) and 207(a).

        47.      At all relevant times, Plaintiff and the members of the putative Collective were

employees within the meaning of 29 U.S.C. §§ 203(e) and 207(a).

        48.      Defendant has failed to pay Plaintiff and the members of the putative Collective

overtime compensation to which they are entitled under the FLSA.

        49.      Defendant has failed to keep accurate records of time worked by Plaintiff and the

members of the putative Collective.

        50.      Defendant is liable under the FLSA for, among other things, failing to properly

compensate Plaintiff and the members of the putative Collective.

        51.      Consistent with Defendant’s policy and pattern or practice, Plaintiff and the

members of the putative Collective were not paid overtime compensation when they worked

beyond forty (40) hours in a workweek.

        52.      All of the work that Plaintiff and the members of the putative Collective performed

has been assigned by Defendant, and/or Defendant has been aware of such work.

        53.      As part of its regular business practice, Defendant has intentionally, willfully, and

repeatedly engaged in a pattern, practice, and/or policy of violating the FLSA with respect to

Plaintiff and the members of the putative Collective. This policy and pattern or practice includes,

but is not limited to:



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                 a.     Willfully failing to pay Plaintiff and the members of the
                        putative Collective premium overtime wages for hours that
                        they worked in excess of forty (40) hours per workweek;

                 b.     Willfully not paying Plaintiff and the members of the
                        putative Collective for travel time; and,

                 c.     Willfully failing to record all of the time that its employees,
                        including Plaintiff and the members of the putative
                        Collective, worked for the benefit of Defendant.

        54.      Defendant is aware or should have been aware that federal law required it to pay

Plaintiff and the members of the putative Collective overtime compensation for all hours worked

in excess of forty (40) in a workweek.

        55.      Plaintiff and the members of the putative Collective perform or performed the same

primary duties.

        56.      Defendant’s unlawful conduct has been widespread, repeated, and consistent.

                                  FIRST CAUSE OF ACTION
                           Fair Labor Standards Act: Unpaid Overtime
                                   Wages and Minimum Wage

        57.      Plaintiff realleges and incorporates by reference the above allegations.

        58.      Defendant has engaged in a widespread policy, pattern or practice of violating the

FLSA in regard to Plaintiff and the members of the putative Collective, as detailed in this

Collective Action Complaint.

        59.      Defendant contracted with each provider relevant locations to provide their services

but did not pay each provider to which they were contracting to provide services to and from each

facility.

        60.      Defendant failed to pay these providers for their travel time which entails being

paid below minimum wage for hours worked in overtime in violation of the FLSA.

        61.      Defendant’s policy, pattern and practice includes, but is not limited to:


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                a.     Not paying workers for hours expended to travel to and from
                       sites where they were contracted to provide their services;

                b.     Willfully failing to pay Plaintiff and members of the
                       Collective action for hours worked in excess of 40 hours;
                       and,

                c.     Further evidence of its willful and reckless failure to provide
                       Plaintiff wages for hours worked did not comply with the
                       FLSA.

       62.      Defendant is liable under the FLSA for its failure to properly compensate Plaintiff

and members of the Collective action for all hours worked.

                                 SECOND CAUSE OF ACTION
                                     Breach of Contract

       63.      Plaintiff realleges and incorporates by reference the above allegations.

       64.      Defendant has engaged in a widespread policy, practice and procedure of breaching

its contract with healthcare providers by not paying them guaranteed wages as guaranteed in its

contract.

       65.      Plaintiff and the class entered into contracts with Defendant where it guaranteed its

contract to provide Plaintiff and the class at least 48 hours of work so long as Plaintiff and members

of the class made themselves available for work. See contract attached hereto as Exhibit “A”.

       66.      Under Defendant’s policy, once Plaintiff offered to provide services and Defendant

contracted to provide them to a site, Plaintiff was required to travel to the site and was then

guaranteed wages for 48 hours.

       67.      Plaintiff was required to drive from Beaver, Pennsylvania to Ft. Lauderdale,

Florida. Plaintiff complied with this contract on August 23, 2020.

       68.      Plaintiff also was not properly reimbursed for her travel or lodging, as required by

the contract.



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        69.     It is upon information and belief that this also happened to hundreds of healthcare

providers who made themselves available for work.

        70.     Defendant’s failure to pay Plaintiff and members of the class for 48 hours of work

is in violation of their contracts.

        71.     It is upon information and belief that this contract was drafted in Georgia and

governed by Georgia law.

                                      THIRD CAUSE OF ACTION
                                         Promissory Estoppel

        72.     Plaintiff realleges and incorporates by reference the above allegations.

        73.     The Defendant in this case made the aforementioned promises of employment with

the reasonable expectation that the Plaintiff would have relied and acted upon them.

        74.     The aforementioned promises induced the Plaintiff to so act.

        75.     Injustice can only be avoided by enforcing the promises.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiff and all those similarly situated request that this Honorable Court:

                A.      Issue an Order certifying a class of employees pursuant to Rule 23
                        and designate Plaintiff as representative on behalf of all employees
                        who Defendant contracted with and who Defendant breached their
                        contract with;

                B.      Issue an Order appointing the undersigned counsel as class counsel
                        pursuant to Rule 23(g);

                C.      Award Plaintiff and all those similarly situated pre and post
                        judgment interest at the statutory rate as provided under state law;

                D.      Award Plaintiff and all those similarly situated, attorneys’ fees,
                        costs and disbursements pursuant to state law;

                E.      Award Plaintiff and all those similarly situated, further legal and
                        equitable relief that this Court deems appropriate;



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              F.     Designate this action as an FLSA Collective Action on behalf of
                     Plaintiff and members of the putative collective action and prompt
                     issuance of notice pursuant to 29 U.S.C. § 216(b) to all similarly
                     situated members of the collective action apprising them of the
                     pendency of this action permitting them to assert timely FLSA
                     claims in this action by filing individual consents to join pursuant to
                     29 U.S.C. § 216(b) tolling the statute of limitations;

              G.     Award unpaid wages which constitute minimum wage and overtime
                     compensation for all work in excess of 40 hours in a workweek;

              H.     Award compensation for unreimbursed travel and lodging;

              I.     Award liquidated damages under the FLSA as a result of
                     Defendant’s willful failure to pay for all hours worked in a
                     workweek at a rate of time and half of the regular pay rate;

              J.     Award damages representing Defendant’s share of state
                     unemployment, insurance and other required employment taxes;

              K.     Award of service payments to Plaintiff;

              L.     Award of pre and post judgment payment and interests;

              M.     Award of costs and expenses in this action including reasonable
                     attorney’s fees and expert fees to Plaintiff’s counsel pursuant to the
                     FLSA;

              N.     An injunction requiring Defendant to cease its practice of violating
                     the FLSA; and,

              O.     Issuance of a declaratory judgment the Defendant’s actions in this
                     collective action are unlawful and willful under the FLSA.

                             TRIAL BY JURY IS DEMANDED

              Plaintiff hereby demands a trial by jury on all issues so triable.

Dated: February 23, 2021                             Respectfully submitted,

                                                     /s/ Gary F. Easom
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